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 4                                UNITED STATES DISTRICT COURT
 5                                       DISTRICT OF NEVADA
 6
 7   UNITED STATES OF AMERICA,                 )
                                               )
 8                     Plaintiff,              )                  Case No. 2:15-cr-00011-JCM-CWH
                                               )
 9   vs.                                       )                  ORDER
                                               )
10   JEROME MICHAEL BELL,                      )
                                               )
11                     Defendant.              )
     __________________________________________)
12
13          Presently before the Court is Defendant Jerome Michael Bell’s Motion to Dismiss Counsel
14   (ECF No. 125), filed on March 30, 2016. Defendant requests that the Court dismiss his attorney for
15   failure to provide effective assistance at trial. Local Criminal Rule 44-3(b) governs the continuity
16   of representation on appeal when counsel was appointed for trial. Subsection 44-3(b)(2) states that
17   “[i]n the event that counsel is unable to, or should not represent the defendant on appeal, counsel
18   shall request to be relieved as counsel and for the appointment of counsel on appeal at the time of
19   sentencing. After the notice of appeal has been filed, such relief must be sought from the Court of
20   Appeals.” Given that Defendant filed a notice of appeal (ECF No. 122), any requests regarding
21   Defendant’s representation must be directed to the United States Court of Appeals for the Ninth
22   Circuit.
23          IT IS THEREFORE ORDERED that Defendant Jerome Michael Bell’s Motion to Dismiss
24   Counsel (ECF No. 125) is DENIED without prejudice.
25
26          DATED: March 31, 2016.
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28                                                 ______________________________________
                                                   C.W. Hoffman, Jr.
                                                   United States Magistrate Judge
